USCA4 Appeal: 21-2017       Doc: 67       Filed: 01/11/2024   Pg: 1 of 2


                                                                   FILED: January 11, 2024

                                           UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

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                                             No. 21-2017 (L)
                                          (1:16-cv-03311-ELH)
                                         ___________________

        MARYLAND SHALL ISSUE, INC., for itself and its members; ATLANTIC
        GUNS, INC.; DEBORAH KAY MILLER; SUSAN BRANCATO VIZAS

                       Plaintiffs - Appellants

         and

        ANA SLIVEIRA; CHRISTINE BUNCH

                       Plaintiffs

        v.

        WES MOORE, in his capacity as Governor of Maryland; WOODROW W.
        JONES, III, Colonel

                       Defendants - Appellees

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        FIREARMS POLICY COALITION, INC.; FPC ACTION FOUNDATION;
        INDEPENDENCE INSTITUTE

                       Amici Supporting Appellant
USCA4 Appeal: 21-2017     Doc: 67        Filed: 01/11/2024      Pg: 2 of 2


                                       ___________________

                                            ORDER
                                       ___________________

              A majority of judges in regular active service and not disqualified having

        voted in a requested poll of the court to grant the petition for rehearing en banc,

              IT IS ORDERED that rehearing en banc is granted.

              The parties shall file 16 additional paper copies of their briefs and appendices

        previously filed in this case within 10 days.

              This case is tentatively scheduled for oral argument during the March 19-22,

        2024, oral argument session in Richmond, Virginia.

                                                For the Court

                                                /s/ Nwamaka Anowi, Clerk
